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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


WP COMPANY LLC
d/b/a THE WASHINGTON POST, et al.,

                      Plaintiffs,

v.                                                      Case No. 1:20-cv-1240-JEB

U.S. SMALL BUSINESS ADMINISTRATION,

                      Defendant.


                         DECLARATION OF CHARLES D. TOBIN

       Charles D. Tobin, pursuant to 28 U.S.C. § 1746, declares as follows:

       1.      I am a partner in the law firm of Ballard Spahr LLP, counsel for Plaintiffs WP

Company LLC d/b/a The Washington Post, Bloomberg L.P., Dow Jones & Company, Inc., Pro

Publica, Inc., The New York Times Company, American Broadcasting Companies, Inc. d/b/a

ABC News, American City Business Journals, Inc., Cable News Network, Inc., NBCUniversal

Media, LLC d/b/a NBC News, The Associated Press, and The Center for Investigative Reporting

d/b/a Reveal. I submit this declaration in support of Plaintiffs’ Motion for Attorneys’ Fees and

Costs. I have personal knowledge of the facts herein and would be competent to testify to them.

       2.      In this lawsuit, Plaintiffs sought release of public records under the Freedom of

Information Act (“FOIA”) that Defendant the U.S. Small Business Administration (the “SBA”)

had wrongly withheld. On November 5, 2020, this Court issued an Order directing the SBA to

release all records containing the information sought by Plaintiffs’ FOIA requests.

       3.      Ballard Spahr has represented Plaintiffs throughout this entire litigation.

Plaintiffs each paid fees of $5,000 as they initially accrued. The Washington Post has paid the

remaining fees and costs for itself and the other plaintiffs, except for Dow Jones which will pay
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its pro rata share of the total fees and costs accrued in this case.

        4.      Ballard Spahr is a national law firm, with offices in 13 states – Arizona,

California, Colorado, Delaware, Georgia, Maryland, Minnesota, Nevada, New Jersey, New

York, Pennsylvania, South Dakota, and Utah – and the District of Columbia.

        5.      Ballard Spahr regularly assists clients in obtaining access to government records

through FOIA, and my colleagues and I frequently litigate such cases in trial and appellate courts

throughout the country. The firm and its attorneys have earned a national reputation for the

quality of the legal services we provide to our clients in actions such as this one. In its 2020

rankings, for example, Chambers USA recognized several Ballard Spahr attorneys as among the

most accomplished First Amendment litigators in the country, and rated Ballard Spahr in the

highest “band” of media and entertainment law practices nationwide and in the District of

Columbia. U.S. News & World Report likewise named Ballard Spahr the national “Law Firm of

the Year” for First Amendment litigation in 2020.

        6.      I am the partner responsible for this matter. I have supervised the work of

associate attorneys Maxwell S. Mishkin and Kristel Tupja and the paralegals who assisted in this

case, and I reviewed and edited all submissions to the Court. I was also responsible for

communicating with the SBA throughout the litigation and providing Plaintiffs with timely

updates and taking strategic direction in response.1 I set forth below my relevant qualifications

and experience, as well as those of Mr. Mishkin and Ms. Tupja.



1
 References in the billing documents to “J. McLaughlin,” “K. Graham,” “L. Perloff-Giles,”
“J. Kutner,” “C. Linder,” and “N. Jones” refer to the following client points of contact: James
McLaughlin, Deputy General Counsel for The Washington Post; Katherine Graham, Newsroom
Counsel for Bloomberg, L.P.; Lexie Perloff-Giles, First Amendment Fellow for The New York
Times; Jeremy Kutner, General Counsel for ProPublica; Craig Linder, Associate General
Counsel for Dow Jones; and Nate Jones, FOIA Director for The Washington Post.



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       7.      I graduated from the University of Florida College of Law in 1989. Since that

time, I have represented plaintiffs in open records requests and other related litigation in courts

across the country. I have been recognized as a leading media and entertainment attorney by

both Chambers USA and Best Lawyers, and I have served as Chair of the First Amendment and

media law professional groups for the American Bar Association, the District of Columbia Bar

Association and the Florida Bar, and I served as the Editor in Chief of the American Bar

Association journal LITIGATION. Additional information regarding my background and

experience is available at https://www.ballardspahr.com/people/attorneys/tobin-charles.

       8.      Maxwell S. Mishkin is an associate with our firm who graduated from Yale Law

School in 2014, and served as a law clerk to the Honorable William H. Yohn, Jr. of the United

States District Court for the Eastern District of Pennsylvania. Mr. Mishkin previously was with

the highly regarded First Amendment boutique law firm Levine Sullivan Koch & Schulz LLP,

which merged with Ballard Spahr in October 2017. Since joining Ballard Spahr, Mr. Mishkin

has represented media clients in open records cases and related actions in the District of

Columbia and across the country. Additional information regarding Mr. Mishkin’s experience

and background is available at https://www.ballardspahr.com/people/attorneys/mishkin-max. In

this case, Mr. Mishkin conducted much of the factual and legal research and principally handled

drafting and editing the Plaintiffs’ pleadings and subsequent papers filed with the Court.

       9.      Kristel Tupja is an associate with our firm who graduated from William & Mary

Law School in 2017. Since joining the Media & Entertainment group at Ballard Spahr in 2019,

Ms. Tupja has represented media clients in open records cases and related actions in the District

of Columbia. Additional information regarding Ms. Tupja’s experience and background is

available at https://www.ballardspahr.com/people/attorneys/tupja-kristel. In this case, Ms. Tupja




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assisted with factual and legal research and drafting, editing, and filing the Plaintiffs’ cross-

motion for summary judgment and motion for fees.

       10.     Two paralegals also assisted with this case: Scott Bailey, who graduated from

Cornell University in 1988, and Ryan Relyea, who graduated from Pennsylvania State University

in 2013.

       11.     Where the hourly rates that Ballard Spahr actually charged in this matter are

higher, Plaintiffs agree to limit their reimbursement of fees in this case to the reduced levels of

hourly rates set forth in the LSI-Laffey Matrix (the “Laffey Matrix”). A copy of the Laffey Matrix

is attached to this Declaration as Exhibit A. According to the Laffey Matrix, the hourly rates for

the attorneys and paralegals who worked on this case are: $914 for myself, $465 for Mr.

Mishkin, $378 for Ms. Tupja, and $206 for Mr. Relyea and Mr. Bailey.

       12.     Ballard Spahr’s standard hourly rates for the firm’s work on this case are $815 for

myself, $505 for Mr. Mishkin, $405 for Ms. Tupja, and $290 for Mr. Relyea and Mr. Bailey.

       13.     Plaintiffs seek reimbursement for 280.17 attorney hours and 38.76 paralegal

hours, which results in fees of $154,648.27 calculated using the applicable Laffey rates for Mr.

Mishkin, Ms. Tupja, Mr. Relyea, and Mr. Bailey, and my firm’s standard hourly rates for me.

Plaintiffs further seeks reimbursement of costs totaling $193.65 for filing fees and research

expenses.

       14.     Invoices reflecting a detailed breakdown of the fees and expenses sought in the

Plaintiffs’ Motion are attached as Exhibit B.

       15.     Based on the foregoing, on behalf of the Plaintiffs, we seek a total of $154,684.27

in fees and $193.65 in expenses for work performed between the filing of this lawsuit and the

present motion.




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      I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 19, 2020.
                                                    /s/ Charles D. Tobin
                                                    Charles D. Tobin




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